Case 1:25-cr-00026-APM Document17 Filed 01/31/25 Page1of4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. : Case No. 25-CR-26 (APM)

ADRIAN J. HINTON,

Defendant.

STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

I. Summary of the Plea Agreement

Defendant agrees to plead guilty to Count One of the Indictment, charging your client with:

Destruction or Attempted Destruction of Government Property, in violation of 18 U.S.C. § 1361.

i. Elements of the Offense

The essential elements of the offense of Destruction or Attempted Destruction of Government

Property

, In violation of 18 U.S.C. § 1361, each of which the government must prove beyond a

reasonable doubt, are:

1.

2.

The defendant injured, damaged, or destroyed property, or attempted to do so.

The defendant did so willfully.

The property involved was property of the United States, or of any department or agency
thereof, or any property which had been or was being manufactured or constructed for the
United States, or any department or agency thereof; however, the government does not
need to prove that the defendant knew that the property belonged to the United States.

i. Penalties for the Offense

The penalty for Destruction or Attempted Destruction of Government Property, in violation
Case 1:25-cr-00026-APM Document17 Filed 01/31/25 Page 2of4

of 18 U.S.C. § 1361 are:

Ml. A term of imprisonment of not more than 1 year;

an A fine not to exceed $100,000;

3. A term of supervised release of not more than 1 year;

4, a special assessment of $25.

The United States Sentencing Guideline § 5E1.2 permits the Court to impose an additional
fine to pay the costs of for imprisonment and any term of supervised release and/or probation.

IV. Brief Statement of the Facts

Had this case gone to trial, the government’s evidence would prove the following beyond a
reasonable doubt:

The block of First Street Northwest between Pennsylvania Avenue and
Maryland Avenue adjacent to the Ulysses S. Grant Memorial is on the U.S. Capitol
Grounds. U.S. Capitol Grounds, including streets and sidewalks, are the property of
the United States. On January 8, 2025, President Carter was laying in state at the
Capitol Rotunda and numerous elected officials were visiting the Capitol Rotunda.

On January 8, 2025, Adrian J. Hinton drove his vehicle from Virginia, through
Washington, D.C., arriving on U.S. Capitol Grounds shortly before 5 p.m. He
eventually parked on the block of First Northwest between Pennsylvania Avenue and
Maryland Avenue.

Around 5 p.m. on January 8, 2025, Adrian J. Hinton removed a bottle
containing an unknown liquid from his vehicle. He then spread the liquid on the top
of the vehicle. Mr. Hinton then utilized matches, placing them near the liquid on the
vehicle, and ignited the vehicle on fire. The vehicle caught on fire. Bystanders
quickly reported the incident to the U.S. Capitol Police (“USCP”) who responded
within minutes of Mr. Hinton lighting his vehicle on fire.

In response to the event, and the proximity of elected officials in the United
States Government, a variety of law enforcement agencies responded, including the
U.S. Secret Service, the Federal Bureau of Investigation, the Bureau of Alcohol,
Tobacco, and Firearms, and a multitude of D.C. law enforcement agencies. A large
cordon was established in the event the vehicle contained any improvised explosives
devices. Bomb technicians were called to the scene and rendered the scene safe. Law

2
Case 1:25-cr-00026-APM Document17_ Filed 01/31/25 Page 3of4

enforcement and technicians conducted a search and found no explosives or
accelerants in the vehicle but found matches and a water bottle with a mixture with a
knife sticking out on the ground in the snow adjacent to the vehicle.

After waiving his Miranda rights and agreeing to speak with law enforcement,
Mr. Hinton told agents that throughout the prior month he had developed a plan to
light his vehicle on fire near the U.S. Capitol to draw attention to his displeasure with
the recent election results. Mr. Hinton indicated that that he had done online research
to learn how to make a homemade “Napalm” by mixing Crisco and gasoline together
in a water bottle, which he spread on his vehicle before lighting the fire.

This proffer of evidence is not intended to constitute a complete statement of all facts known
by the parties, but is a minimum statement of facts intended to provide the necessary factual predicate
for the guilty plea. The limited purpose of this proffer is to demonstrate that there exists a sufficient
legal basis for the defendant’s plea of guilty to the charged crime. This Statement of the Offense
fairly and accurately summarizes and describes some of the defendant’s actions and involvement in

the offense to which he is pleading guilty.

Respectfully submitted,

Edward R. Martin, Jr.
United States Attorney
D.C. Bar No. 481866

By: /s/Rachel E. Craft
RACHEL E. CRAFT

Special Assistant United States Attorney
NY Bar Number: 5613708

United States Attorney’s Office
601 D Street, NW

Washington, DC 20530
Telephone: (202) 468-0073
Email: Rachel.Craft2@usdoj.gov

Case 1:25-cr-00026-APM Document17 Filed 01/31/25 Page4of4

DEFENDANT’S ACKNOWLEDGMENT

I have read the Statement of Offense setting forth the facts related to my guilty plea to
Destruction or Attempted Destruction of Government Property, in violation of 18 U.S.C. § 1361.

I have discussed this proffer fully with my attorney, Eugene Ohm, Esq. I fully understand
this proffer and I acknowledge its truthfulness, agree to it and accept it without reservation. I do
this voluntarily and of my own free will. No threats have been made to me nor am I under the
influence of anything that could impede my ability/{o understand this proffer fully.

Date: [Z 3/2s~

Adrian J. Hinton ~~
ATTORNEY’S ACKNOWLEDGMENT
I have read each of the pages constituting the government’s proffer of evidence related to
my client’s guilty plea to Destruction or Attempted Destruction of Government Property, in

violation of 18 U.S.C. § 1361. I have reviewed the entire proffer with my client and have discussed
it with him fully. I concur in my client’s agreement with and acceptance of this proffer.

Du ls uy Po

Eu ar Oli EY
Attorney forDefendant Adrian J. Hinton

